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                      UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF CALIFORNIA
                                                                   12 DEC -6 pl.4
                                                                               1112: DD
UNITED STATES OF AMERICA,                  CASE NO. 12cr44 60-BEN',',

                      Plaintiff,
              vs.                          JUDGMENT OF DISMISSAL
ALBA MARIA BARRIOS (2),

                      Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

    an indictment has been filed in another case against the defendant and
    the Court has granted the motion of the Government for dismis    of
    this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

~   the Court has granted the motion of the Government for dismissal,
    without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

~    of the offense(s) as charged in the Information:

     21:952 and 960; 18:2



          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: DECEMBER 6, 2012
                                            Nita L. Stormes
                                            U.S. Magistrate Judge
